521i (rev 01/10)


                                   UNITED STATES BANKRUPTCY COURT
                                              MIDDLE DISTRICT OF PENNSYLVANIA
In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade):

    James Michael Brolley                                                              Chapter                7

    Debtor(s)                                                                          Case No.               5:10−bk−08052−JJT




                              ORDER DISMISSING CASE UNDER 11 U.S.C. §521(i)(1)

   It appearing the above−named debtor(s) has/have failed to file documents required pursuant to the Bankruptcy Act
of 2005, it is hereby,

   ORDERED that the case of the above−named debtor(s) be and is hereby dismissed. The trustee hereby is
discharged from further responsibility in this case, and it is further

    ORDERED that all pending actions in this case are hereby dismissed.




Dated: 11/26/10                                                                      BY THE COURT




                                                                                     United States Bankruptcy Judge




                                     This document is electronically signed and filed on the same date.




        Case 5:10-bk-08052-JJT                        Doc 20 Filed 11/26/10 Entered 11/26/10 09:10:40                        Desc
                                                     Order Dismiss per 521i Page 1 of 1
